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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   ---------------------------------------------------------X
   NEW YORK ROAD RUNNERS, INC.,                             :
                                                            : Case No. 1:24-cv-01231-DG-JAM
                     Plaintiff,                             :
                                                            :
            -against-                                       :
                                                            :
   NEW YORK CITY RUNS, INC.,                                :
                                                            :
                     Defendant.                             :
   ---------------------------------------------------------X

              STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE

         IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff New York

  Road Runners, Inc. and Defendant New York City Runs, Inc., by and through their undersigned

  counsel and pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), that Plaintiff’s

  complaint in the above captioned action is voluntarily dismissed, with prejudice and with each

  party bearing its respective attorney’s fees and costs.

  Dated: December 16, 2024

   FRANKFURT KURNIT KLEIN + SELZ, PC                        DAY PITNEY LLP

   By:    /s/ Kimberly Maynard                              By:   /s/ Richard Brown
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   Attorneys for Plaintiff
   New York Road Runners, Inc.

                                                            SO ORDERED, ______________ 2024

                                                            __________________________________
                                                            Hon. Diane Gujarati
                                                            United States District Court Judge
